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 4   Attorney for MANUEL COVARRUBIAS
 5
 6                             UNITED STATES DISTRICT COURT
 7                            EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,       )                       NO. 1:06-CR-418 LJO
                                     )
10                   Plaintiff,      )                       AMENDED STIPULATION
                                     )                       TO CONTINUE SENTENCING,
11              vs.                  )                       AND ORDER THEREON
                                     )
12   MANUEL RUESGA COVARRUBIAS, )                            DATE:              June 20, 2008
     aka JOSE MANUEL COVARRUBIAS, )                          TIME:              8:45 AM
13                                   )                       DEPT:              Hon. Lawrence J. O’Neill
                     Defendant.      )
14   _______________________________ )
15                 IT IS HEREBY STIPULATED by and between the parties hereto through
16   their attorneys of record that the sentencing hearing presently scheduled before the Hon
17   Lawrence J. O’Neill for June 20, 2008 at the hour of 8:45 AM be continued to July 11,
18   2008 at 8:45 AM.
19                 The parties agree that the delay resulting from the continuance shall be
20   excluded in the interests of Justice, including, but not limited to, the need for the period
21   of time set forth herein for effective defense preparation pursuant to 18 U.S.C.
22   Section 3161 (h)(8)(B)(iv), and availability of counsel.
23   Dated: June 5, 2008.          .        McGREGOR W. SCOTT, United States Attorney
24
                                            By:_/s/ Kathleen A. Servatius__________________
25                                           KATHLEEN A. SERVATIUS, Assistant U.S. Attorney
                                               Attorney for Plaintiff
26
     Dated: June 5, 2008.
27                                          _/s/ Daniel A. Bacon__________________________
                                            DANIEL A. BACON,
28                                          Attorney for Defendant COVARRUBIAS

                            Stipulation to Continue Sentencing Hearing and Order Thereon
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 1                                                 ORDER
 2                  Time is excluded in the interests of justice pursuant to
 3   18 U.S.C. Section 3161 (h)(8)(B)(iv) and availability of counsel.
 4   Good cause exists to grant the stipulated request.
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11   IT IS SO ORDERED.
12   Dated:   June 16, 2008                           /s/ Lawrence J. O'Neill
     b9ed48                                       UNITED STATES DISTRICT JUDGE
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                         Stipulation to Continue Sentencing Hearing and Order Thereon   3
